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                           Exhibit 5
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                                                                        ATCHARLOTTESVILE,VA


                      IN THE UNITED STATES DISTRICT CO URT
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                     FO R THE W ESTERN DISTRICT O F VIRG INIA         j JUL   .   D LEY, LERK
                            CHARLOTTESVILLE DIVISIO N                 BK




 UNITED STATES O F AM ERICA

                                         driminalAction No.3:18CR00025-001
 BENJAM IN DRAKE DALEY



         In the presence ofLisa Lorish,my counsel,who has full
                                                             y explained the charges

 contained in the indictm entagainstme,and having received a copy ofthe indictment

 from the United States Attorney before being called upon to plead,lhereby plead guilty

 to said indictm entand CountO ne thereof.Ihave been advised ofthe m axim um

 punishm entw hich m ay be im posed by the courtforthis offense.My plea ofguilty is

 m ade knowingly and voluntarily and withoutthreatofany kind orwithoutprom ises other

 than those disclosed here in open court.




                                         Signa ure ofD     dan

    s /t/lr
  Date




    i
    tness




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                                         IN TH E
                            UM TED STATES DISTRICT COURT                           At 23 2210
                                        FO R TH E                             2UL C.DUDLEY,CLERK
                            W ESTERN D ISTR ICT O F VIR G INIA              BY:
                              CH A RLO TTESV ILLE D IV ISIO N

  U M TED STA TES O F A M ER ICA                    CriminalNo.3:18CR 00025@ KM )
                                                :
           V.


  BEYJAMIN DRAKEDALEY
                                 STA TEM EN T O F O FFEN SE
   .     Theoffensesdescribed below occurred within the W estern DistrictofVirginia,aswellas
  other districts. This Statement of Facts brietly summarizes the facts and circum stances
  surrotmdingthedefendant'scrlminalconduct.Itdoesnotcontainalloftheinformationobtained
  during this investigation and applicable to an accm ate Presentence Report and Sentencing
  Guidelinescalculation.

        Thisstatem entoffactsisnotprotectedby profferagreementorany otheragreement,and
  shallbe wholly adm issible attrialin the eventthis plea is laterwithdrawn notwithstanding any
  Rulesorstatutestothe contrary,includingbutnotlimited to,FederalRulejofEvidence408 and
  410,and FederalRule ofCriminalProcedtlre 11,unless1the Courtrejectsthe plea agreement
  tmderRule11(c)(1)(C).
         The defendant,BENJAM W DRAKE DALEY,acknowledgesand agreesthat,in proving
  the elem ents ofthe crim es to which he is pleading guilty,the United States can establish the
  following factsbeyond a reasonable doubt,and thatthese factsconstitute an adequate basis for
  hispleaofguiity.

         Inearly2017,thedefendantBenjaminDrakeDaley and otherindividualsparticipated in
  an organization originally known as the tGDIY Division''thatwas laterre-branded asthe GGltise ,
  Above M ovem ent''or :111.AMè.'' RAM was located in the greater Los Angeles,California area
  and represented itself as a combat-ready,m ilitant group of a new nationalist white identity
  m ovement. RAM regularly heldhand-to-hand and othercombattrainlng forRAM m embersand
  associatesto prepare to engage in violentconfrontationswith protestorsand otherindividuals at
  purported Gtpolitical''rallies. They attended these rallies with the exjectation thatphysical
  contlictwith counter-protestors would occur,and they celebrated violence ithappened. RAM
  leadersorgnnized thetraining sessionsand attendance atpoliticalralliesthrough phone callsand
  textm essages. In 2017,thedefendantattended severalsuch com battraining eventsand rallies.

         Through vmious socialm edia platforms,RAM would publicly postphotographs of its
  m em bers with their faces partially concealed. These photographs would be accompanied by

  Defendant'sInitials:


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  statementssuch asGtW henthesquadl'lsnotoutsmashingcommies,''GWrightwingdeathsquad,''or
  tGlgoodnightleftside.''Thedefendantposedinsomeofthesegroupphotographs.
         1.     H untington B each,C alifornia on M arch 25,2017

          On M arch 25, 2017, the defendant attended a political rally in Htmtington Beach,
  California along with severalRAM mem bers. Atthatevent,severalRAM m embersengaged in
  physicalfights with protestors and otherpersons. Following thatrally,photographs depicting
  RAM membersassaulting protestorsand otherpersonswerecovered on thenewsand on various
  N eo-N azi,white suprem acistwebsites. ItAM m em bers celebrated this coverage,and used the
  Intem etto poststatem ents,photographs,and videosofassaultscom mitted by RAM m embersat
  thisrally in orderto recruitm em bersto engage in violentconfrontations atfuture èvents. For
  exnmple, on the evening after the rally,the defendant sent a text m essage to fellow ILAM
  members:tdFrontpage ofgwebsitejwe did itfam.'' In referencingthese eventsatHtmtington
  Beach,the RAM Twitteraccountlaterposted a photograph showing severalIIAM m embersat
  the event,with themessage,Gtshortly afterthispic antifawasbtfo gi.e.,blown thef- k outqin
  Huntington Beach.''

         II.    B erkeley Riots on A pril15,2017

         In early 201.
                     7,apurportedpoliticalrally wasscheduled to occurin M artin LutherKing Jr.
  Civic CenterPark in Berkeley,Califom ia.

         In anticipation ofthisrally,thedefendanthelped to organizea RAM training on Sunday,
  April9,2017,inSanClemente,Califomia,theweekendbeforetherally.Atthistraining,oneof
  the subjectsoffocuswould be hand-to-hand fighting and formation fighting. The defendant
  attended thesetrainings.

          Priorto the event,on oraboutApril14,2017,the defendant,using hisdebitcard and his
  phone nllm ber,reserved and rented a van from Aim ortVan Rentalslocated atthe LosAngeles
  International Airport to transport the defrndant and other RAM m embers from southern
  Californiato Berkeley,California. On theeveningofFriday,April14,20t7,thedefendantand
  severalRAM mem bersdrovetogetherto Berkeley,Califom ia.

         On April15,2017,severalhtmdred people- to includethedefendmltand theotherRAM
  members- attended tv rally. Thedefendantand otherR.AM membersweredressed in gray
  clothing, goggles, and with black scarfs or m asks to cover the lower half of their faces.
  Throughout the day,there were several violent clashes between som e rally attendees and
  individualsprotesting the rally. ln one ofthefirstsuch instances,the defendantand otherRAM
  mem bers crossed the banierseparating the attendees and protestors,and physically foughtwith
  protestors.

        As the rally broke up, rally attendees and protestors dispersed onto the streets of
  downtown Berkele'y. The defendant, alongside other RAM mem bers, followed a group of

  Defendant'sInitials:


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   protestors w ho w ere leaving the area. Other RAM m em bers attacked a protestor,ptm ching him
   severaltim esand stompihg on him once. ThedqfendantZckèd down afencethatwasblocking .
                              ,

   thestreet,aild then ran up to a protestor and kicked him 9om behind. Theprotestorthen sprayed
   thedefendantwiih achemicalirritant.

          Follow ing the rally, photop aphs depicting the defendant and other R AM m em bers
   assaulting protestorsand otherpersonswerecovered on the pews and on variousNeb-Nazi,
   wllite supremacistwebsites. RAM members celebrated thiscoverage,alid used the Internetto
   postphotograph and videosofassaultscom m itted by RAM m em bers in orderto recm itm em bers
   to engage in violentcoO ontations atfuture events. For exnm ple,on M ay 15,2017,the R AM
   Instagrnm accotmtposted aphotovaph ofaRAM memberwearinj a'black skullmask atthe
   Berkeley event along w ith the com m ent, O rightwingdeathsquad.'' On M ay 31, 2017, the
                                  x


   defendantpostedonFacebook:çEW hitenationalistlsjwerethereason thebattleonBerkeley on
   April 15th w as a victory.'' On Janumy 10,2018,the RAM Tw itter accotmt posted a m essage
   describing itself as Rthe only altrightcrew thatacm ally beats antifa senselessand w insrallies.''
   OnFèbruary 14,2018,theRAM èab accotmtpostedaphotbpaphofaRAM memberptmching
   aprotestoratthe Berkeley eventalong w ith the text,R'ralk shitgethitl''

          Because bne of the R AM m em bers had broken his hand by punching som eone in
   Berkeley, futurè R AM trainings events w ould include training on using Kçpalm strikes'' and
   elbows. Overthesumm erof2017,the (
                                    Jefendanthelped organizethese trainingsto prepare for
   future rallies.

          111.       Preparations ànd Travelto Charlottesville in A ugust2017

           ln oraround the spring and sum m erof2017,an eventreferred to asthe G<u nite th'
                          '
                                                                                          e Right''
                    0,
   rally w as orgnnlzed and scheduled to oùcur on August 12, 2017, at Em ancipation Park in             ,

   Charlottesville,Virginia. This rally w as widely hprom oted on socialm edia and intéinet sites
   associated with white-suprem acistindividuals and F oups,and w as scheduled to feature a lineup
   ofw ell-u own white-suprem acistspeakers.

          On or aboutJuly 26,2017,the defendant,through a fnm ily m e> ber,obtained a ticketon
   Am erican A irlines for a round-trip com m ercialflight9om Los M geles Intem ationalAl
                                                                                        'rportin
   CaliforniatoCharlottesvilleAlbemarleAupor
                          o
                                        ' tinCharlottesville,Virginia,depakingonAugust
                                           '

   11,2017 and retnrnlng on August 16,2017. O n August 11,2017,the.defendant boarded his
   flight and t'
               raveled 9om Califom ia to Chadottesville,V irginia,landing at approxim ately 2:25
   p.m.(EST).Atthe'timeofhistravel,thedefendantexpected thateitherhi'orhisfellow RAM
   meibers (some ofwhom were also kaveling to Charlottesville) would engage in violent
   coO ontationsw ith protestors orotherindividualsatthe upcom ing eventsin Charlottesville.

          for exnmple,on July 24,2017,the defendantposted on the Discord platform to the
   Rcharlottesville''thread forUnitetheRiglztRally participantsthat.he' and lzisco-defendantswere
   Rexperienced atthese events''and thatEçallwere in Berkeley riots.'' ln a textm essage on A ugust


   Defendant's.
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    9, 2017, the defendant described a co-defendant who w ould be staying w ith them in
    CharlottesvilleasanGGlplxcellentfighter''andthathewasEElsjtokedtohavehim withus.''
            ln anticipation of these congontations, after arriving in Charlottesville, the defendant
    used his debitcard to purchase athletic tape atthe W al-M artforRA M m em bers to wrap their
    fists in order to prevent their hands 9om breaking when they punched som eone. In advising
    otherswhenbuyingprovisionsfortheweekend,thedefendantadvisedthem toçtlmjakesureto
    notuse yourcard. HittheATM and use cash.''

           lV .     The Torch-tzitM arch atthe University ofV irginia on A ugust11,2017

            On August11,2017,the evening priorto the scheduled U nite the Rightrally,htm dredsof
    individuals,including the defendantand fellow RAM m em bers and associates,w ere gathedng to
    engage in a torch-lit m arch on the p ounds of the University of Virginia in Charlottesville,
    V irginia. At a nearby feld where the group w as gathering,the defendant and fellow R AM
    m em bers and associates lined up in form atiön, lit their torches, and w aited for the m arch to
    Com m ence.                                             .

            Throughoutthe m arch,the participants engaged in chants prom oting or expressing white
    suprem acistand otherracistand anti-sem itic view s,such asSçBlood and soill''and ççlew sw illnot
    replace usl'' The m arch culm inated nearthe University of Virginia's Rotunda,where a sm aller
    r oup ofindividuals,including U niversity ofVirginia sm dents,had gathrred around a stam e of
    Thom asJeffersop to protestthe torch-litm arch. M em bers ofthis group held a bnnnerthatread:
    SGVA Students Act A gainst W hite Suprem acy.'' Chanting and bearing torches, the m arch
    participants encircled the Thom as Jefferson statue and surrounded the protestors. Violence
    erupted nm ong the crowd,w ith som e individualsptm ching,ldcking,spraying chem icalirritants,
    swinging torches,and othelw ise assaulting others,a1lresulting ixl a riot as thatterm is defined
    under18U.S.C.j2102. During and in furtheranceofthisdot,thedefendantand otherRAM
    m em bers and associatesptm ched and struck m ultiple individualswith atorch.

           On February 6,2018,in a conversation on Facebook,the defendantadm itted thathe was
    presentatççthe fightatthe torch m arch''and thathe çthitlike 5 people.''               '

           V.       The U nite the RightR ally on A ugust12,2017 '

           On the m om ing ofAugust 12,2017,m ultiple groups and individuals espousing w hite-
   suprem acist and other anti-sem itic and racist view s airived in and around the vicinity of
   Em mwipation Park in Charlottesville,V irginia,to attend the U nite the Rightrally. W hen they
 . show ed up to Em ancipation Park,the defendant and otherRAM m em bershad in factw rapped
   their hands w ith the white athletic tape purchased the day prior. A fter several instances of
    violence prior to the scheduled start of the rally, law enforcem eni declared an tEunlawful
    assembly''and required rally participantsto disperje.



    Defendant'sInitials: .'                                                   .
                                              '
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                .




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         One of the firstbreakouts ofviolence on the m om ing of August 12,2017 occurred on
   2nd SkeetNE,between Jefferson and High Streets,in downtown Charlottesville. Thedefendant
   andotherRAM memberswerepartofalargegroup of(overforty)individuals seekingentryto
   Em ancipation Park by w ay of2nd StreetN E,butwere told by m embersoflaw enforcem entthey
   had to enter 9om a different location. The group,including the defendant and other RA M
   members,turnedaround,linedup,andbegantomaketheirwa#tllrough agroupof(overtwenty)
   individuals who had com e to therally to protestagainstracialand otherform s ofdiscrim ination.

           A sthey m ade theirw ay through the group ofprotestorswho w ere blocking theirpath to
   the park,the defendantand otherR AM m em bers collectively pushed,ptm ched,ldcked,choked,
   head-butted, and otherw ise assaulted several individuals, resulting in a riot. During an in
   furtherance of this riot, the defendant personally com m itted m ultiple acts, including but not
   limited to,'the following:(1)ptmching a protestoratleasttwice ahd kicking him once;(2)
   attempting to punch a second protestor;(3) vabbing a protestor and throwing her offthe
   sidewalk;and (4)grabbingaprotestorbyherthroatandthrowinghertothevound.Theseacts
   w erenotin self-defense.


       m            Q.o
      Date                                                   BenjnminDrakeDaley
                                                             Defendant

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                                                                aLorish
                                                             Cotm selforBen' ' D aley


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      Date                                                   Thom asT.Cullen
                                                             United StatesAttorney

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   Defendant'sInîtials:
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                     IN THE UNITED STATESDISIN CT COURT                  BV'
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                                                                          **      J       .
                    FOR TH E W ESTER N DISTW CT OF VIRG ING                    D P    , 'kzr
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                         CH ARI,OTTESVILLE DW ISION


   UM TED STATES OF AM EW CA                  :
                                              :
               V.                                  CaseN o.3:18cr25

   BENJAM G D R AK E DALEY
                                  PLEA A GREEM ENT

          I have agreed to enter into a plea agreem entwith the United States of Am erica,
   pursuantto Rule 11oftheFederalRulesofCrim inalProcedure.Itm derstand thatthisple:
   agreem entexpireson M ay 3,2019, a'ndthatIm ustçnterthisguilty pleaby oron thatdate,
   unlessan extension isagreed upon by theUnited StatesAttom ey'sOffice forthe W estern
   DistrictofVirginia.

          Theterm sand conditionsofthisagreementare asfollow s:

    A. CH ARG EIS) TO W H ICH I A M PLEAD G G GG               TY AND W M VER OF
       W G HTS

       1. The Chareesand PotentialPunishm ent

          M y attom eyhasinformed meofthenatureofthechargets)andtheelementsofthe
    chargets)thatmustbeproved by theUnited Statesbeyond areasonabledoubtbefore1
    could be found guilty ascharged.

          lwillenteraplea ofguilty to Count1 ofthe Indictm ent.

         Count1 chargesm e with Conspiracy to ltiot,in violatioh of18U.S.
                                                                  .     C.j371.The
    maximum statutorypenaltyisafilleof$250,000,aimprisonmentforaterm offiveyears,
    plusaterm ofsupervised releajeofthree years.

          Iunderstandrestitutionmaybeordered,myassetsmaybesubjectto forfeiture,and
    feesm ay beimposed to pay forincarceration,supervisedrelease,and costsofprosecution.
    lnaddition,a$100 specialassessment,pursuantyo 18U.S.C.j3013,willbeimposedper


                                                            Defendant'sJ'
                                                                        a2/2J/.
                                                                              çJ
                                        Page 1of 17
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    felony countofconviction. Ifurtherunderstand my supervised releasem ay be revoked if
    Iviolate itstermsand conditipns. lunderstand aviolation ofsupervise'd release increases
    thepossibleperiod ofincarceration.

    believelitam pleadinggjltyasdescribedabovebecauseIam infactguiltyandbecausel
               isin m y bestmterestto do so and notbecause ofany threatsorprom ises There
                                                                                  .

    hasbeen no promise m ade whatsoeverby anyone as to whatthe finaldisposition ofthis
    m atterwillbe.

       2. W aiver ofconstitutionalR iehtsUpon a Plea ofGuiltv
          lacknowledgeIhavehad al1ofm y rightsexplaiùed to me and Iexpressly recor ize
    lhave the following constitutionalrightsand,by voluntarily pleading guilty,Iknowingly
    waive and giveup thesevaluable constim tionalrights:

          a. Therightto plead notguilty and persistin thatplea;   .


          b. '
             Iherighttoaspeedy andpublicjurytrial;
          c. Therightto assistance ofcounselatthattrialand in any subsequentappeal;
          d. Therightto rem ain silentattrial;
          e. Therightto testify attrial;
          f. Therightto congontand cross-examinew itnessescalled by thegovernm ent;
          g. Therightto presentdvidence and wim essesin m y own behalf;
          h. Therightto compulsory processofthecourt;
          i. Therightto compeltheattendance ofwitnessesattrial;
          j. Therighttobepresumedinnocent;
          k. '
             Fherightto aunanimousguilty verdict'
                                                ,and
          1. Therightto appealaguilty verdict.

       3. Dism issalofCounts

          IfIcomply with m y obligations tm derthe plea ap eem ent,the United States will
    move,atsentenzing,thatlbe dismissed as a defendantin any remaining countts). I
    stipulate and agree the United States had probable cause to bdng a11the counts in the
    Indictm ent which are being dism issed under this ap eem ent, these charges were not
    frivolous,vexatiousorin bad faith,and 1am nota Kprevailing party'?with regardto these
    charges. lfurtherw aive any claim forattorney'sfeesand otherlitigation expensesarising
    outofthe investigation orprosecution pfthism atter.                         ''




                                                             Defendant'xInitîals: l 1 .



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   B. SENTEN CIN G PRO W SION S

      1. G eneralM atters

         Pupuantto Fed.R.Crim.P.11(c)(1)(C),theUnited Statesand Iagree Ishallbe
   sentenced to a period ofincarceration w ithin the range of2/
                                                              7m onthsto 42 m onths. The
   partiesagree thisisareasonabl
                     ,           esentenceconsiderinha11ofthefactsandcircumstancesof
   thiscase. Iunderstand the Courtmustsentence mewithin thisrangeorrejecttheplea
   agreement. If,and only if,the Courtrejects the plea agreement,l willbe given an
   oppo> nity to withdraw m y guiltyplea. TheUnited Statesand Iagree al1othersentencing
   m atters,including,butnotlim ited to,supervised release,fines,and restitution,are leftto
   the Court's discretion. Because the parties have stipulated the agreed to sentence of
   im prisonm entis reasonable regardless ofthe guidelines calculations,Iwaive any rightl
   m ay have to any future reduction in sentence based on a change in the sentencing
   guidelines.

         Iunderstand Iw illhave an opportunity to review a copy ofm y presentence report
   in advance ofmy sentencinghearing and may fileobjections,asappropriate. Iwillhave
   an opportunity at m y sentencing hearing to present evideùce, bring witnesses, cross-
   exam ine any witnesse. the govem m ent calls to testify,and argue to the Courtwhat an
   appropriate sentenceshould be within the confm esoftheterm softhisam eem ent.

          I understand l w illnotbe eligible for parole dtlring any term of imprisonm ent
   im posed.

      2. Sentencine Guidelines

         Istipulate and agree thata11m atterspertaining to any ofthe colmtsofthe charging
   documentts), including any dismissed counts, are relevant conduct for purposes of
   sentencing.

         The parties agree the 2018 edition of the U nited States Sehtencing Guidelines
   M anualappliestoanyguidelinescalculation madepertainingtomy offensets).Istipulate
   thatthefollowing guidelinesectionts)areapplicabletomycondùct:
                       Aggravated A ssault
              2M .2 14 AssaultInvolvin Intentto Com m itAnotherFelon
         2M .2 1 + 2 Offense involvedm orethm1m inim al lannin
      2M .2 b (3 A + 3 Victim sustainedbodil in'u


                                                             Defendant'sInitials:
                                         Page 3 of 12



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             3B1.1(c + 2 Or anizer/leader
          The United States stipulatesthatthe guideline sectionts)setforth in this section
    should apply to m y conduct.

           Iunderstand otherguideline sectionsm ay be applicable to m y case and the United
    Statesand 1willbefreeto arguewhetherthese sectionsshould orshould notapply;to the
    extenttheargum entsarenotinconsistentwith thestipulations,recomm endationsand terms
    setforth in thisplea agreem ent.

           I understand the United States retains its rightto seek a sentence outsidç ofthe
    applicable guidelinerange.

          lagree to acceptresponsibility form y conduct. lf 1comply with m y obligations
    underthisplea agreem entand acceptresponsibility form y conduct,theUnited Stateswill
    recomm end the Courtgrant me a two-levelyeduction in m y offense level,pursuantto
    U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethatIreceiveaone-level
    reduction in my offense level,pursuantto U.S.S.G.j 3E1.1(b),for purposes of any
    guidelines calculation. However,l stipulate thatif Ifailto acceptresponsibility for my
    conductorfailto comply with àny provision ofthisplea am eem ent,Ishould notreceive
    creditforacceptance ofresponsibility.

       3. M onetarv Obliaations

          a. SpecialA ssessm ents.Finesand Restitution

          l understand persons convicted of crim es are required to pay a mandatory
    assessmentof$100.00 perfelony countofconviction. lapee lwillsubmitto the U.S.
    Clerk'sOffice,a certified check,m oney order,orattorney'strustcheck,m adepayableto
    theSGclerk,U.S.D istrictCourt''forthe totalam ountdue form andatory assessm entsprior
    to entering m y pleaofguilty.

            lagreeto pay restim tion fortheentire scope ofm y crim inalconduct,including,but
    notlim ited to,a11m attersincluded as rrlevantconduct. ln addition,lagree to pay any
    restim tion required by law ,including,butnotlim ited to,am ountsduepursuantto 18 USC
    jj2259,3663,and/or3663A. 1understand and agreearequirement1payrestimtion for
    a1lofthe above-stated matterswillbeimposedupon measpartofany fmaljudgmentin
    thism atter.                            '



                                                              Defendant,xInîtu u: tl   .




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          I further agree to m ake good faith efforts toward paym ent of a1l m andatory
   assessments,restimtion and fines,with whatevermeanslhave atmy disposal. Iqgree
   failm eto do so willconstitutea violation ofthisagreem ent.lwillekecuteany docul ents
   necessary to release the ftm dslhave in any repository,bnnk,investm ent,other financial
   institution,or any other location in order to m ake partial or total paym enttow ard the
   m andatory assessm ents,restitution and finesimposed in my case.

          Ifully understand restitution and forlkiture are separatefinancialobligationswhich
   m ay be imposed upon a crim inaldefendant. 1furtherunderstand there isa processw ithin
   the D epartm ent of Justice whereby,in certain circum stances,forfeited funds m ay be
    appliedtorestimtionoblijations.Iunderstandnoonehasmadeanypromisestomethat
    such aprocesswillresultln a decrease in m y restitution obligationsin thiscase.

          lunderstand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(119,whatever
    monetary penalties are imposed by the Courtwillbe due immediately and subjectto
    im m ediate enforcem entby thr United Statesasprovided forby stam te. Itmderstand ifthe
    Courtimposesa schedule ofpayments,thatscheduleisonly a mintmum scheduleof
    paym entsand notthe only m ethod,noralim itation on them ethods,availableto theUnited
    Statestoenforcethejudgment.
           Iagree to granttheUnited States a wage assir m ent,liquidate assets,orcom plete
    any othertaskswhich willresultin imm ediatepaym entin full,orpaym entin the shortest
    timeinwhich fu11paymentcanbereasonablypadeasrequiredunder18U.S.C.j3572(* .
           Iexpressly authorizetheUnited StatesAttom ey'sOffk etoobtain a creditreporton
    m ein orderto evaluate my ability to satisfy any financialobligation imposedby the Court.

          1agree the follow ing provisions,orwordsof similareffect,should be included as
    conditions ofprobation and/or supervised release:(1) Sl-f'he defendantshallnotify the
    Financial Litigation U nit,United States Attorney's Office,in writing,of any interestin
    property obtained,directly orindirectly,including any interestobtained underany other
    nam e,or entity,including a trust,pm nership or corporation afterthe execution of this
    agreementuntila11fines,restitution,m oneyjudgmentsandmonetaryassessmentsarepaid
    in 111''and (2)is'l'he Defendantshallnotify theFinancialLitigation Unit,United States
    Attom ey's Office,in writing,atleast30 dayspriortotransfening any interestin property
    owneddirectlyorindirectlybyDefendant,includinganyinterestheldorownedunderany
    other nam e or entity, includlng trusts, paM ership and/or corporations until a11 fm es,
    restitution,moneyjudgmentsandmonetary assessmentsarepaid in 111.'5



                                                               Defendant'sInitials:
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          The parties will also jointly recommend that as a condition of probation or
    supervised release,D efendant will notify the Financial Litigation Unit,United States
    Attom ey's Office,before Defendanttransfers any interestin property owned directly or
    indirectly by Defendant,including any interestheld or owned under any other nam e or
    entity,includingtrusts,partnership and/orcop orations.See 18U.S.C.j3664(14,(n).
           Regardlessofwhetherornotthe Courtspecifically directsparticipation orimposes
    a schedule of paym ents,I agree to fully participate in inm ate em ploym ent under any
    availableorrecomm endedprogram soperated by theBureau ofPrisons.

           lagreeanypaymentsmadebymeshallbeappliedfullytothenon-jointandsrveral
    portion ofmy outstanding restitution balance untilthe non-joiptand severalportion of
    restimtion ispaid in 1 11,unlessthe Courtdeterm inesthatto do so would cause ahardship
    toavictim oftheoffensets).
          b. Dutv to M akeFinancialDisclosure
                         .                  %.
                                               s

           Iunderstandin thiscasethereisapossibility substantialfinesand/orrestitution m ay
    be imposed. In order to assistthe United States as to any recomm endation and in any
    necessary collection ofthose sum s,lagree,ifrequested by theUnited States,to provide a
    complete and truthfulfm ancialstatementto theUnited StatesAttom ey'sOffice,within 30
    daysoftherequest.or3 dayspriorto sentencing,w  'hicheverisearlier, detailing a11incom e,
    expendim res,assets,liabilities,gifts and conveyances by m yself,m y spouse and m y
    dependentchildren and any cop oration,partnership orotherentity in which Ihpld orhave
    held an interest,forthe period starting on January 1stof the yearprior to the yearm y
    offense began and continuing through the date ofthe statement. This fmancialstatem ent
    shallbe submitted in aform acceptable tbtheUnited StatesAttorney'soffice.

           From the tim e of the signing of this ap eem ent or the date l sign the tinancial
    statem ent,whichever is earlier,l agree not to convey anything of value to any person
    w ithoutthe authorization oftheUnited StatesAttorney'sOffice.

          c. Understandinz ofCollection M atters

          1understand:

          1. aspartofthejudgmentinthiscaselwillbeorderedtopayoqeorm oremonetary
             obligations;                    .
          2. paym entshould bem ade asordered by the Court;


                                                              Defendant'sTaf/fl/.&'.- J
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          3. lmustmai1payments,bycashier'scheckormoneyorder,piyabletothe''Clerk,
             U .S.DistrictCourt''to: 210 Franklin Road,S.W .,Suite 540,Roanoke,Virginia
             24011;andincludemynameandcourtnumberon thecheck ormoneyorder;
          4. interest(unlesswaivedby theCourt)and penaltiesmustbeimposed forlateor
             mijsedpa#ments;
          5. theUnited Statesm ay filelienson m y real@ndpersonalproperty thatw illrem ain
             inplaceuntilmonetaryobligationsarepaidin 111,oruntilliensexpire(the.later
             of20yearsfrom dateofsentencingorrelease9om incarceration);               '
          6. iflretain counselto representm eregarding theUnited States'effortsto collect
             any of my ' m onetary obligations,I will imm ediately notify the United States  ,

             Attorney's Ofsce,ATTN : FinancialLitigation Unit,P.O.Box 1709,Roanoke,
             V irginia 24008r1709,in writing,ofthe factofm y legalrepresentation;and
             1, or m y attom ey if an attom ey will represent m e regarding collection of
             m onetary obligations, can contact the U .S. Attorney's Office's Financial
             Litigation Unitat540/857-2259.

   C.ADDITIONAL M ATTER S

       1. W aiverofRiehtto A ppeal

         Knowing that1have a rightofdirectappealofmy sentence lmder 18 U.S.C.j
   3742(a)andthegroundslisted therein,lexpresslywaivetherightto appealmy sentence
   on those grounds or on any ground. ln addition,Ihereby waive m y rightofappealasto
   any and a11otherissues in this m atter and agree Iw illnotfile a notice ofappèal. Iam
   knowingly and voluntarily wàiving any rightto appeal. By signing this agreem ent,Iam
   explicitly and H evocably directing m y attorney not to file a notice of appeal.
   N otwithstanding any otherlanguagetothec/a/m ry,Iam notwalving my righttoappeal
   orto havemy c///rae-y- /z/eazl/sceofappeal,astoany issuewhich cannotbewaived by
   law,ora c/cf,zthat18 E x$:G #2101 isunconstitutional- Iunderstand
                                                                   ,utheUnitedStates
    expressly reserves a11ofitsrightsto appeal. I agree and understand ifIl-
                                                                           lle any court
   docum ent(exceptforan appealbased on an issuethatcanàotbewaived,by law,ora
   collateralattack based on ineffectiveassistanceofcounsel)seekingto disturb,in any
   w ay,axiy order im posed in m y case such action shallconstitute a failure to com ply
   with a provision ofthisagreem ent.

       2. W aiver ofR iehtto Collaterallv Attack

          IwaiveanyrightImayhavetocollaterallyattack,in anyfutureproceeding,any
    orderissued in thism atter,unlesssuch attack isbased on ineffectw e assistanceofcolm sel,


                                                               Defendant'sInitials:
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    and agree Iwillnotfileany docum entwhich seeksto disturb any such order,unless luch
    filing isbased on ineffectiveassistance ofcounsel. Iagreeand understand thatlfI flle
    any courtdocument(exceptforan appeqlbased on an issuenototherwisewaived in
    this agreem ent; an appealbased on an issue that cannot be waived,by law ; or a
    collateralattack based on ineffectiveassistanceofcounsel)seekingtodisturb,in any
    way,any order im posed in my case,such action shallconstitute a failure to cpm ply
    with a provision ofthisagreem ent.

       3. Inform ation A ccessW aiver

           lknowingly and voluntarily agree to waive allrights,whetherasserted directly or
    by a representative,to requestor receive from any departm entor agency ofthe United
    States any records pertaining to the investigation orprosecution ofthis case,including
    withoutlim itation any recordsthatm ay be soughtunderthe Freedom oflnform ation Act,
    5U.S.C.j552,orthePrivacy Actof1974,5U.S.C.j552a.
       4. Deportation

          lunderstandif1am notacitizenoftheUnitedStateg,lmaybesubjecttodeportation
    from the United States,denied United States citizenship,and denied adm ission to the
    United Statesin thefuture,asaresultofmy conviction forthe offensets)towhich Iam
    pleading guilty.

       5. A dm issibilitv ofStatem ents

          I understand any statements I make (including this plea agreement, and my
    admission ofguilt)duringorinpreparationforanyguiltypleahearing,sentencinghearing,
    or otherhearing and any statem ents 1m ake orhave m ade to 1aw enforcem entagents,in
    any setting (including during a proffer),may be used againstme in this or any other
    proceeding. Iknowingly waive any right1m ay have underthe Constitution,any statm e,
    rule or other source of law to have such statem ents,or evidence derived from such
    statem ents,suppressed orexcluded 9om being adm itted into evidence and stipulate that
    such statem entscan be adm itted into evidence.

       6. AdditionalOblieations

          1agreenotto com m itany ofthefollowing acts:
                                                         z'


              . attemptto withdraw m y guilty plea;


                                                              Defendant'sInitials:
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            * deny lcomm itted any crim eto which 1havepled guilty;
            * makeoradoptany argumentsorobjectipnstothepresentencereportthatare
                inconsistentwith thispleaagreem ent;
            * obstructjustice;
             . failto com ply with any provision ofthispleaar eem ent;
             * com m itany othercrim e;
             * m ake a false statement;
             * failto enter my plea ofguilty by M ay 3,2019 - the expiration date ofthis
               plea agreem ent - unless a continuance is agreed to by the United States
               A ttorney'sOffk e and grantedby theCourt;

      7. Com pletion ofProsecution

         The United states Attom ey's offk e forthe w estrrn Districtof Virginia and the
   UnitedstatesAttomey'sbficefortheCentralDistrictofCaliforniaagreethatiflcomply
   with m y obligationstm derthispleaagreem entand Iam sentencedby thisCourt,they will
                                                                       .

   notchargemewith anyadditionalviolationsof18U.S.C.j2101fortùeconductincluded
   in the statem entofOffense.                             '

   D.REG     DIES AVAILABLE TO TH E UM TED STATES

          I hereby stipulate and agree that the United States Attorney's office m ay,at its
   election,pursueany ora11ofthefollowing rem ediesifIfailto comply with any provision
   ofthisagreement: (a)declarethispleaagreementvoid;(b)refusetodismissanycharges;
   (c)reinstate any dismissed charges;(d) file new charges;(e)withdraw any substantial
   assistance motion m ade,regardless ofwhethersubstantialassistance hasbeen performed;
   (9 refusetoabidebyanyprovision,stipulations,and/orreçommendationscontainedinthis
   pleaagmement;or(g)takeanyotheractionprovidedforunderthisagreementorbystatute,
   regulation orcourtrule.

          In addition,Iam eeif,forany reason,m y conviction isjetasidç,orIfailto com ply
   with any obligation undertheplea agreem ent,theUnited Statesm ay file,by indictm entor
   information, any charges against m e which w ere filed and/or could have been fled
    concem ingthemattersinvolvediniheinstantinvestigation.Iherebywaivemydghtunder
   FederalRule ofCrim inalProcedure 7 to be proéeeded againstby indictm entand consent
   to thefling ofan inform ation againstm econcçrning any such charges.lalsoherebyw aive
    apy statm eoflimitationsdefenseasioany suchcharges.              r




                                                               Defendant'sInitials:
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          The rem edies setforth above are cumulative and not mutually exclusive. The
    United States'election ofany ofthese rem edies,otherth% declaring thisplea agreem ent
    void,doesnot,in aày way,term inàte m y obligation to comply with the terms oftheplea
    agreem ent. TheuseofSEiP'in thissection doesnotm ean Gdif,and only if.''
                                                         ,'



    E. G ENER AI,PRO W SION S

        1. Lim itation ofA ereem ent

           This agreem ent only binds the U nited States Attom ey's Office for the W estern
    DistrictofVirginia,exceptasprovided in Section C,paragraph 8 above. Otherwike,it
    doesnotbind any state orlocalprosecutor,otherUnited StatesAttom ey'sOfsce orother
    oflce oragency ofthe U nited StatesGovernm ent,including,butnotlim ited to,the Tax
    DivisionoftheUnitedStatesDepaftmentofJustice,ortheInternalRevenueServiceofthe
    United StatesDepartm entofthe Treasury. These individuals and agenciesremain free to
    prosecutemeforany offensets)committedwithintheirrespectivejurisdictions.
       2. EffectofM v Sienature

           Iunderstand m y signature on this agreementclp stitutes a binding offerby m eto
    enterinto thisagreem ent. Itm derstand theUnited Stateshasnotaccepted my offeruntilit
    signsthe agreement.

       3. EffectiveR epresentation

           Ihavediscussedtlzeterm softheforegoingpleaagreem entand al1m atterspertaining
    to thechargesagainstm ew ith m y attorney and am fully satisfiedw ith m y attorney and my
    attom ey's advice. Attllistim e,Ihave no dissa
                                                 'tisfaction orcomplaintw ith m y attorney's
    representation. lagreeto m akelcnown to the Courtno laterthan atthetim e ofsentencing
    any dissatisfaction orcomplaintlm ay havew ith m y attorney'srepresentation.

        4. M isconduct

           If I have any information concem ing any conduct of any governm ent attorney,
     agent,employee,orcontractorwhich couldbeconstrued asm isconductorân ethical,civil,
     orcrim inalviolation,lagreeto m akesuch conductknown to theUnited StatesAttorney's
     Office and ihe Court,in writing,as soon aspossible,butno laterthan my sentencing
    headng.



                                                               De
                                                                fendant'
                                                                       sfaz/zllr j
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          5. FinalM atters

           lunderstand athorough presentence investigation willbe conducted and sentencing
    recom m endationsindependentoftheUnited StatesAttom ey'sOfficewillbem adeby the
    presentence preparer,which the Courtm ay adoptortake into consideration. Iunderstand
    any calcplation regarding the guidelinesby the United States Attorney'sOffice orby m y
    attorneyisspeculativeandisnotbindingupon theCourt,theProbation OfficeortheUnited
    StatesAttorney's Office. No guaranteehasbeen m ade by anyone regarding the effectof
    theguidelineson m y case.

              ltm derstand the prosecution w illbe free to allocute or describe the natpre ofthis
       offense and the evidence in this case aild m ake any recom m endations notprohibited by
                                              ,

       thisagreem ent.

              Iunderstand the United States retainsthe right,notwithstanding any provision in
       thisplea agreem ent,to inform the Probation Office and the Courtofa11relevantfacts,to
       addresstheCourtwith respectto thenatureand seriousnessoftheoffensets),torespond
       to any questions raised by the Courq to correçtany inaccuracies or inadequacies in the
       presentencereportand to respond to any statem entsm adeto the Courtby oron behalfof
       the defendant.

             I willingly stipulate there is a suffk ient factualbasis to supporteach and every
       materialfactualallegation contained within the charging documentts) to which I am
       pleading guilty.

               Iunderstand this agreementdoesnotapply to any crim esorx    chargçsnotaddressed
       in this agreement. ltmderstand ifIshould testify falsely in this orin arelated proceeding
       Imaybeprosecuted forperjtlry and statementsImay have given authoritiespursuantto
       thisagreementm ay beused againstm e in such aproceeding.

             lunderstand my attom e/willbefreeto argueany mitigatingfactprson mybehalf;
       totheextentthey arenotinco'nsistentWiih'tietermsofthisagreem'ent.''v
                                                                          lundèfgtandIwill
   .
       havean opportunity to personally addresstheCourtpriorto sentence being imposed.

             Thiswriting setsforth the entireunderstanding between thepartiesand constitutes
       thecompletepleaagreementbetweep tfleU'nited StatesAttorzey forthe W estern District
                                                                              x

       ofVirginia and me, Mnd.nè otheréddtlipm l.ierm sor agreementsshall'be eùtered except
                                                   .

       and unlessthose otherterm sor am eem entsaré in w liting and signed by the pârties.This
       plea agreem entsupersedesà11priortm derstandings,promises,agreem ents,or conditions,


                                                                   Defendant'sInltlals:       ..
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    ifany,betw een theUnited Statesand m e.

           lhave consulted w ith m y attorney and fully understand a11m y dghts. lhave read
    thisplea agreem entand carefully reviewed every partofitwith m y attorney. 1understand
    this agreem ent and l voluntarily agree to it. I have not been coerced,threatened,or
    prom ised anything other than the term s of this plea agreem ent, described above, in
    exchange form y plea ofguilty. Being aware of allofthe possible consequences ofm y
    plea,lhaveindependqntly decided to enterthispleaofm y ow n freewill,and am affinhing
    thatagreementon this date and by my signaturebelow.


    Ilate:   lksrk ï tj                                     '          M

                                             BenjaminDrakeDalèv Defendant
    1have fully explained a11rightsavailableto my clientwith respectto theoffenseslisted in
    the pending charging documentts). I have carefully reviewed every partofthisplea
    agreem entw ith m y client. To m y knowledge,my client's decision to enter into this
    agreem entisan informed and voluntary one.

             lfIwillcontinuetorepresentm y clientregarding theUnitedStates'effortsto collect
    any monetyy obligatiohs,Iwillnotify the United States Attorney's Oftke,ATTN:
    FinancialLltlgation Unit,P.O .Box 1709,Roanoke,Virginia 24008-1709,in writing,of
    thefactofmy continued legalrejresentation within 10 daysoftheentry ofjudgmentin
    thiscase.       '


    Ilate:1/ç/l3                                f
                                                o
                                             Lisa M .Lo sh
                                             C ounsel rD ef       nt


    Date: S--i - 1q                             (-
                                             Thom asT.Cullen
                                             U nited StatesAttorney


    Date:s,//y                               Christ pher R.K av augh
                                             A ssistantU nited tates A ttorney



                                                                Defendant'sInltlals:
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